       Case 1:20-cv-01879-PAE-RWL Document 10 Filed 10/16/20 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X                   10/16/2020
ELIZABETH JULIUS,                                              :
                                                               :    20-CV-1879 (PAE) (RWL)
                                    Plaintiff,                 :
                                                               :     ORDER OF SERVICE
                  - against -                                  :   AND SCHEDULING ORDER
                                                               :          (PRO SE)
COMMISSIONER OF SOCIAL SECURITY,                               :
                                                               :
                                    Defendant.                 :
---------------------------------------------------------------X

ROBERT W. LEHRBURGER, United States Magistrate Judge.

        In light of Plaintiff’s in forma pauperis status and current pandemic conditions, the

Court withdraws its orders of service, dated July 28, 2020 and September 28, 2020 (Dkts.

7, 9), and respectfully directs the Clerk of Court to notify the U.S. Attorney’s Office for the

Southern District of New York of the filing of this pro se case, brought under 42 U.S.C.

§ 405(g), for which plaintiff proceeds in forma pauperis and the filing fee has been waived.

Notice by the Clerk shall constitute service, and the date of filing of this order shall be the

effective date of service. Scheduling shall proceed according to the timeline set forth the

Court’s standing or supplemental scheduling orders filed in this case.

                                                     SO ORDERED.



                                                     _______________________________
                                                     ROBERT W. LEHRBURGER
                                                     UNITED STATES MAGISTRATE JUDGE

Dated: October 16, 2020
       New York, New York

Copies transmitted this date to all counsel of record. The Clerk of Court is directed to
mail a copy of this order to pro se Plaintiff and note service on the docket:




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Case 1:20-cv-01879-PAE-RWL Document 10 Filed 10/16/20 Page 2 of 2




Elizabeth Julius
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Bronx, NY 10459




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